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 1                                                                         Honorable Robert S. Lasnik

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 6                               UNITED STATES DISTRICT COURT
                                WESTERN DISTRICT OF WASHINGTON
 7                                        AT SEATTLE

 8
      Leobardo MORENO GALVEZ, et al.                         Case No. 2:19-cv-00321-RSL
 9
                            Plaintiffs,
10                                                           PLAINTIFFS’ NOTICE OF
             v.                                              SUPPLEMENTAL AUTHORITY
11
      Lee Francis CISSNA, Director, U.S. Citizenship
12    and Immigration Services, et al.

13                          Defendants.

14
            Pursuant to Local Rule 7(n), Plaintiffs respectfully submit this notice to advise the Court
15
     of W.A.O. v. Cuccinelli, No. 2:19-cv-11696-MCA-MAH (D.N.J. July 3, 2019) (order granting
16
     preliminary injunction).
17
            Dated this 3rd day of July, 2019.
18
                                                  s/ Matt Adams
19                                                Matt Adams, WSBA No. 28287

20                                                s/ Leila Kang
                                                  Leila Kang, WSBA No. 48048
21
                                                  s/ Aaron Korthuis
22                                                Aaron Korthuis, WSBA No. 53974

23                                                s/ Tim Warden-Hertz
                                                  Tim H. Warden-Hertz, WSBA No. 53042
24
     PLS.’ NOTICE OF SUPP. AUTHORITY – 1                        NORTHWEST IMMIGRANT RIGHTS PROJECT
     Case No. 2:19-cv-00321-RSL                                              615 Second Avenue, Suite 400
                                                                                       Seattle, WA 98104
                                                                                      Tel. (206) 957-8611
             Case 2:19-cv-00321-RSL Document 38 Filed 07/03/19 Page 2 of 12



 1
                                           s/ Meghan Casey
 2                                         Meghan Casey, WSBA No. 45275

 3                                         s/ Olivia Gibbons
                                           Olivia Gibbons, WSBA No. 52760
 4
                                           NORTHWEST IMMIGRANT RIGHTS PROJECT
 5                                         615 Second Avenue, Suite 400
                                           Seattle, WA 98104
 6                                         Telephone: (206) 957-8611
                                           Email: matt@nwirp.org
 7                                                 leila@nwirp.org
                                                   aaron@nwirp.org
 8                                                 tim@nwirp.org
                                                   meghan@nwirp.org
 9                                                 olivia@nwirp.org

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     PLS.’ NOTICE OF SUPP. AUTHORITY – 2              NORTHWEST IMMIGRANT RIGHTS PROJECT
     Case No. 2:19-cv-00321-RSL                                    615 Second Avenue, Suite 400
                                                                             Seattle, WA 98104
                                                                            Tel. (206) 957-8611
              Case 2:19-cv-00321-RSL Document 38 Filed 07/03/19 Page 3 of 12



 1
                                     CERTIFICATE OF SERVICE
 2          I hereby certify that on July 3, 2019, I electronically filed the foregoing with the Clerk of
 3 the Court using the CM/ECF system which will send notification of such filing to the following:

 4                 Chalia I. Stallings-Ala'ilima           chalias@atg.wa.gov
                                                           cruecf@atg.wa.gov
 5
                   Matt Waldrop                            james.waldrop@usdoj.gov
 6                                                         amy.hanson@usdoj.gov
                                                           ivette.moshe2@usdoj.gov
 7                                                         eli.quintana@usdoj.gov

 8
     And I hereby certify that I have mailed by United States Postal Service the document to the
 9
     following non CM/ECF participants: None.
10
     Dated: July 3, 2019.                                  s/ Leila Kang
11                                                         Leila Kang
                                                           Northwest Immigrant Rights Project
12                                                         615 Second Avenue, Suite 400
                                                           Seattle, WA 98104
13                                                         (206) 957-8608
                                                           leila@nwirp.org
14

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     PLS.’ NOTICE OF SUPP. AUTHORITY – 3                         NORTHWEST IMMIGRANT RIGHTS PROJECT
     Case No. 2:19-cv-00321-RSL                                               615 Second Avenue, Suite 400
                                                                                        Seattle, WA 98104
                                                                                       Tel. (206) 957-8611
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                   EXHIBIT A




PLS.’ NOTICE OF SUPP. AUTHORITY               NORTHWEST IMMIGRANT RIGHTS PROJECT
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                                                                     Seattle, WA 98104
                                                                    Tel. (206) 957-8611
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                          UNITED STATES DISTRICT COURT FOR
                         THE DISTRICT OF NEW JERSEY

W.A.O., H.H.M.C., N.L.J., and                     Civil Action No.
K.M.R.L., on behalf of themselves and all         2:19-cv-11696 (MCA) (MAH)
others similarly situated,

                         Plaintiffs,

                  v.

KENNETH T. CUCCINELLI II,
                                                      PRELIMINARY INJUNCTION ORDER
Acting Director, U.S. Citizenship and
Immigration Services, KEVIN
McALEENAN, Acting Secretary,
U.S. Department of Homeland Security;
ROBERT COWAN, Director, National
Benefits Center,
U.S. Citizenship and Immigration
Services; UNITED STATES
DEPARTMENT OF HOMELAND
SECURITY; and UNITED STATES
CITIZENSHIP AND IMMIGRATION
SERVICES,

                         Defendants.




        Plaintiffs W.A.O., H.H.M.C., N.L.J., and K.M.R.L., individually and on behalf of all others
similarly situated, having moved this Court for class certification,
        Plaintiffs W.A.O., H.H.M.C., N.L.J., and K.M.R.L., individually and on behalf of all others
similarly situated, having moved this Court for a preliminary injunction to correct and prevent the
delay and denial of petitions for Special Immigrant Juvenile Status (“SIJS”) on the ground that the
Family Part of the Chancery Division of the New Jersey Superior Court (“the Family Part”)
lacked jurisdiction to make specified, predicate child welfare findings as to petitioners between
the ages of 18 and 21,
     The parties, having agreed to continue good faith efforts to resolve the matter brought by
Plaintiffs,

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         The court, having considered the briefs and arguments of counsel and determined that it is
    necessary to protect the Plaintiffs and proposed class on a temporary basis during further
    negotiations between the parties,
                    IT IS NOW ORDERED:
           Classwide Relief
           1.       The relief described in this Order shall apply to named Plaintiffs and all individuals
    who have filed or will file SIJS petitions based on New Jersey Family Part orders that were entered
    between the petitioners’ 18th and 21st birthdays, and whose SIJS petitions are, have been, or will
    be delayed, denied, or revoked on the ground that the Family Part lacks the authority, power, or
    jurisdiction to make the required predicate child welfare findings as to petitioners in this age group.
           Conclusions of Law
           2.       Defendants’ imposition of a new requirement for SIJS, and delay, denial, or
    revocation of Plaintiffs’ and class members’ SIJS petitions, violate the Administrative Procedure
    Act by (1) exceeding the agency’s statutory authority under the Immigration and Nationality Act
    (“INA”), (2) usurping the authority granted to state courts by the INA, (3) depriving Plaintiffs and
    class members of due process of law, and (4) failing to follow prescribed procedures.

           3.       In adjudicating SIJS petitions, USCIS is required to defer to state courts on matters
    of state law. Congress reserved a critical role for state courts in the SIJS framework because state
    courts are expert in making child welfare determinations, including with what individual or agency
    a juvenile should be placed; whether the juvenile has been abused, neglected, or abandoned; and
    what is in his or her best interest. 8 U.S.C. § 1101(a)(27)(J)(i)-(ii) (“SIJS Statute”). The agency’s
    own policy guidance emphasizes the importance of deference to the jurisdiction and expertise of
    the state courts in making child welfare findings. In particular, “[j]uvenile courts should follow
    their state laws on issues such as when to exercise their authority, evidentiary standards, and due
    process.” USCIS Policy Manual, Vol. 6, Part J, ch. 3.A.2; see also id. ch. 2.D.4 (“The juvenile
    court order must have been properly issued under state law to be valid for the purposes of
    establishing eligibility for SIJ classification. This includes the need for the juvenile court to follow
    their state laws on jurisdiction.”).1 Furthermore, the USCIS Administrative Appeals Office (the
    “AAO”) has recently emphasized that it is USCIS policy to “respect state family court


1
  References to the USCIS Policy Manual demonstrate the agency’s current support for the propositions cited, but the
terms of this Order control and will control even if the Manual is subsequently revised.
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jurisprudence.” See AAO Decision in the Matter of N-L-J-, ECF No. 19.2 at 9-14 (“[S]tate law,
not federal law, governs the definition of ‘juvenile,’ ‘child,’ ‘infant,’ . . . or any other equivalent
term for juvenile which applies to the dependency or custody proceedings before the juvenile
court.”).
        4.     The Family Part is a “juvenile court” for the purpose of making the child welfare
findings required by the SIJS Statute, 8 U.S.C. § 1101(a)(27)(J)(i)–

(ii) (“SIJ Findings”), because the Family Part has “jurisdiction under State law to make judicial
determinations about the custody and care of juveniles,” 8 C.F.R. § 204.11(a); see also A.E.C. v.
P.S.C., 453 N.J. Super. 19, 30 (App. Div. 2018) (holding that the Family Part “always” has
“jurisdiction under state law to make judicial determinations about the custody and care of
juveniles” in accordance with 8 C.F.R. § 204.11(a)). Recent AAO decisions have also recognized
that the Family Part has competent jurisdiction over individuals between the ages of 18 and 21 to
make decisions about both custody and the viability of parental reunification. See AAO Decision
in the Matter of W-A-O-, ECF No. 19.2 at 3–8; see AAO Decision in the Matter of N-L-J-, ECF
No. 19.2 at 9–14 (recognizing that the New Jersey family court was operating as a juvenile court
for purposes of SIJ classification).
        5.     With regard to older juveniles, the Family Part has jurisdiction under New Jersey
law to find that a juvenile between his or her 18th and 21st birthday is dependent on the court and/or
to place that juvenile in the custody or care of a responsible adult or agency. A.E.C., 453 N.J.
Super. at 29; N.J. Stat. Ann. § 9:17B–3 (authorizing a court to “take any action it deems
appropriate and in the interest of a person under 21 years of age, or to require a change in action
heretofore taken by a court with respect to a person under 21 years of age”). The Family Part has
such jurisdiction even in situations where New Jersey law requires the consent of the juvenile to a
proposed custodial placement. Id.; see also N.J. Stat. Ann. § 9:6-8.54(c) (requiring juvenile’s
consent to continue a foster placement beyond the juvenile’s 18th birthday).
        6.     Under New Jersey law, the Family Part’s exercise of jurisdiction over juveniles in
this age group depends on the juvenile’s continuing dependency.
                a.     In the context of a child custody proceeding, the Family Part must make
                       findings establishing that the child remains dependent on a parent or
                       caretaker. Relevant factors include, but are not limited to, whether the
                       juvenile is still in school, remains financially and emotionally dependent on

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                    a caretaker, and/or remains “within the parental ‘sphere of influence and
                    responsibility.’” A.E.C., 453 N.J. Super. at 28–29 (quoting Filippone v. Lee,
                    304 N.J. Super. 301, 308 (App. Div. 1997)). Such findings establish that the
                    juvenile is unemancipated, but New Jersey law does not require an explicit
                    declaration of non- emancipation so long as the Family Part makes
                    underlying factual findings showing the juvenile’s ongoing dependency. Id.
                    at 29 (“[T]o address the SIJ issue, we conclude that either a declaration of
                    unemancipation or a custody order would justify the court in noting, for the
                    purposes of an SIJ finding, that the child is ‘dependent’ on the court.”).
              b.    In the context of a juvenile in the foster care system, the Family Part retains
                    jurisdiction over the child so long as abuse or neglect proceedings are
                    instituted before the juvenile turns 18. N.J. Stat. Ann. § 9:6-8.24 (“In
                    determining the jurisdiction of the court under this act, the age of the child
                    at the time the proceedings are initiated is controlling.”); N.J. Stat. Ann. §
                    9:6- 8.21(c) (defining “[a]bused or neglected child” as one “less than 18
                    years of age”). If proceedings are begun before the juvenile turns 18, the
                    juvenile remains under the jurisdiction of the Family Part, which is
                    authorized to make or continue a foster or other placement after the juvenile
                    turns 18, so long as the juvenile consents. N.J. Stat. Ann. § 9:6-8.54(c); see
                    also N.J. Stat. Ann. § 30:4C-2.3 (requiring the Department of Children and
                    Families to provide continuing services to juveniles between the ages of 18
                    and 21 so long as the juvenile does not refuse and the commissioner
                    determines “that a continuation of services would be in the individual’s best
                    interest and would assist the individual to become an independent and
                    productive adult”). Thus, foster children whose abuse or neglect
                    proceedings were initiated before their 18th birthdays remain subject to the
                    Family Part’s jurisdiction, including for custodial placements, after they
                    turn 18, without any separate findings related to non-emancipation.

              c.    In the context of a juvenile adjudicated as a delinquent, New Jersey law
                    makes them wards of the State. N.J. Stat. Ann. § 2A:4A-21(e) (providing
                    “that children under the jurisdiction of the court are wards of the State,

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                       subject to the discipline and entitled to the protection of the State, which
                       may intervene to safeguard them from neglect or injury and to enforce the
                       legal obligations due to them and from them”). Only a juvenile who
                       commits an offense before the age of 18 is subject to a delinquency
                       adjudication (as opposed to a criminal prosecution), N.J. Stat. Ann. §
                       2A:4A-22(a) (defining a “juvenile” for the purpose of delinquency
                       adjudications as “under the age of 18 years”); see also N.J. Stat. Ann. §
                       2A:4A- 24(d), but once adjudicated as a delinquent, a young person remains
                       subject to the jurisdiction of the Family Part throughout the term of the
                       disposition (analogous to a criminal sentence), even after the youth turns 18
                       years old, N.J. Stat. Ann. § 2A:4A-45; see also State v. S.T., 254 N.J. Super.
                       1 (App. Div. 1991) (holding that Family Part retains jurisdiction over youth
                       who violated probation after turning 18); In re K.F., 313 N.J. Super. 319
                       (App. Div. 1998) (upholding delinquency disposition ordering the Division
                       of Youth and Family Services to pay for services for juvenile over 18,
                       relying in part on authority granted by N.J. Stat. Ann. § 9:17B-3). Thus, the
                       Family Part has jurisdiction over youth subject to delinquency dispositions
                       after their 18th birthdays, without having to make separate findings of non-
                       emancipation.
                d.     The jurisdiction of the Family Part over other juveniles between the ages of
                       18 and 21, and the court’s authority to declare them dependent or place them
                       in the custody of a responsible adult or agency, will depend on the context
                       in which the case arises. New Jersey law governs in establishing the
                       authority of the Family Part to assume jurisdiction over a juvenile in this
                       age group and to make the child welfare findings necessary for a subsequent
                       SIJS petition.
       Adjudication of SIJS Petitions of Plaintiffs and Class Members
       7.      Based on the New Jersey law reflected in Paragraphs 4–6, USCIS shall not, until
further Order of this Court, delay, deny, or revoke SIJS petitions on the ground that the Family
Part lacks jurisdiction to make SIJ Findings as to juveniles who are between 18 and 21 years old,
so long as New Jersey law establishes that the juvenile is subject to such jurisdiction.

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       Identification and Correction of SIJS Petitions with Adverse Actions
       8.      The parties shall meet and confer to propose to the court by the date of the status
conference set in ¶ 19 a system for identifying those individuals who filed SIJS petitions that were
pending at any time between January 1, 2018, and the present, and who relied on a Family Part
order entered between the petitioner’s 18th and 21st birthday (“18+ SIJS Petitions”).
       9.      USCIS has identified approximately 110 class members whose 18+ SIJS Petitions
have been denied. The Agency shall have 60 days from the date of this Order to review those
denials to see if they conform with this Order and to readjudicate those petitions as warranted.
       10.     The parties shall meet and confer to propose to the court by the date of the status
conference set in ¶ 19 a system for identifying which of the petitioners identified in ¶ 8 were subject
to adverse agency actions or delays, including:
                a.     Delays beyond 180 days from the date the petition was filed;
                b.     Requests for Evidence pertaining to the jurisdiction of the Family Part to
                       make SIJ Findings for juveniles between 18 and 21 years old;
                c.     Notices of Intent to Deny based in whole or in part on USCIS’s position that
                       the Family Part lacks jurisdiction to make SIJ Findings for juveniles
                       between 18 and 21 years old;
                d.     Additional denials based in whole or in part on USCIS’s position that the
                       Family Part lacks jurisdiction to make SIJ Findings for juveniles between
                       18 and 21 years old;
                e.     Notices of Intent to Revoke based in whole or in part on USCIS’s position
                       that the Family Part lacks jurisdiction to make SIJ Findings for juveniles
                       between 18 and 21 years old; and/or
                f.     Revocations based in whole or in part on USCIS’s position that the Family
                       Part lacks jurisdiction to make SIJ Findings for juveniles between 18 and
                       21 years old.
       11.     The parties shall meet and confer to propose to the court by the date of the status
conference set in ¶ 19 what corrective actions shall be taken with regard to each of these potential
adverse agency actions and delays.
       12.     Pending further order of this Court, and in addition to any remedies to be agreed
upon pursuant to Paragraphs 9–11, any individual who has filed an 18+ SIJS Petition may move
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to reopen, seek reconsideration, file an appeal, or use other established administrative procedures
to prompt USCIS to review and correct any action the petitioner believes to be in conflict with this
Order. The petitioner may seek such administrative relief at any time after entry of this Order.
Defendants shall accept filings under this Paragraph for 180 days after providing the notice to be
agreed upon pursuant to Paragraph 13 and shall charge no fees in connection with any such filing.
       Notice to Individuals Who Have Filed 18+ SIJS Petitions
       13.     The parties shall meet and confer to propose to the court by the date of the status
conference set in ¶ 19 a system for providing notice to individuals who have filed 18+ SIJS
Petitions. Such notice shall be designed to inform such individuals of the contents of this Order
and subsequent Orders of this Court pertaining to classwide relief.
       Notice of Adverse Adjudicatory and Enforcement Actions
       14.     Pending further order of this Court, Defendants shall provide no less than 45 days’
notice to Plaintiffs’ counsel and to this Court before USCIS takes any adverse adjudicatory action
in response to any 18+ SIJS petition. Similarly, Defendants shall provide no less than 45 days’
notice to Plaintiffs’ counsel and to this Court before ICE executes a removal order against any
named Plaintiff or other individual who filed an 18+ SIJS Petition.
       15.     Defendants have agreed for a six-month period from the date of this Order to defer
the execution of removal orders against individuals who have filed SIJ petitions based on New
Jersey Family Part orders that were entered between the petitioners’ 18 th and 21st birthdays, and
whose SIJS petitions have been denied or revoked on the ground that the Family Part lacked the
authority, power, or jurisdiction to make the required predicate child welfare findings as to
petitioners in this age group.
       16.     The parties shall meet and confer about potential relief for petitioners who are
presently detained or who are subject to removal orders or voluntary departure orders following
Defendants’ denial of their 18+ SIJS Petitions for any reason and who are still present in the United
States. Defendants shall provide to Plaintiffs’ counsel and the Court the identities of these potential
class members within 30 days of this Order.
       Relief for the Named Plaintiffs
       17.     The USCIS Administrative Appeals Office has sustained the appeals of W.A.O.
and N.L.J., directing the USCIS National Benefits Center to grant their SIJS applications.
Defendant Robert Cowan will ensure that grants are issued within a reasonable time of the entry

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of this Order.

The USCIS Administrative Appeals Office has issued an RFE to H.H.M.C. requesting additional
evidence to show that the Family Part found him to be unemancipated. The May 30, 2017, Family
Part Order he submitted as Exhibit A to his Declaration (A-120) finds that H.H.M.C.:

                   a.   is “declared a dependent on the Juvenile Court,” ¶ 1;

                   b.   “currently attends New Brunswick High School, where he is in the 10th
                        grade,” ¶ 1(a);

                   c.   is “thriving under the care of [his mother] and [stepfather],” ¶ 1(a);

                   d.   “shall remain under this Court’s jurisdiction until the age of 21,” ¶ 2; and

                   e.   his mother and stepfather “shall continue to have physical custody and
                        guardianship of the minor child,” ¶ 5.
Because these findings establish that H.H.M.C. was not emancipated at the time the Family Part
entered the order, and because New Jersey law does not demand an explicit declaration of non-
emancipation, see supra Paragraph 6.a., Defendants shall take prompt remedial action consistent
with this Order.
       18.       The Court will conduct periodic status conferences to monitor progress on the
issues as to which the parties will be meeting and conferring. The next status conference shall take
place at 2:00 p.m. on Tuesday, September 17, 2019 before the undersigned. The parties shall file
a joint status letter one day in advance of the next conference.


Dated: July 3, 2019


                                                      /s Madeline Cox Arleo___________
                                                      HON. MADELINE COX ARLEO
                                                      UNITED STATES DISTRICT JUDGE




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